           Case 4:16-cv-00050-YGR           Document 247        Filed 01/05/18     Page 1 of 4




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12

13
                                    UNITED STATES DISTRICT COURT
14
                                   NORTHERN DISTRICT OF CALIFORNIA
15
      JAMAL RASHID TRULOVE,                             Case No. 16-cv-00050-YGR
16
             Plaintiff,                                 DECLARATION OF MAUREEN D’AMICO IN
17                                                      SUPPORT OF DEFENDANTS’ MOTION FOR
             vs.                                        SUMMARY JUDGMENT
18
      THE CITY AND COUNTY OF SAN                        Hearing Date:           February 27, 2018
19    FRANCISCO, ET AL.,                                Time:                   2:00 p.m.
                                                        Place:                  Courtroom 1, 4th Floor
20           Defendants.                                                        1301 Clay Street
                                                                                Oakland, CA
21
                                                        Trial Date:             March 5, 2018
22

23

24
            I, Maureen D’Amico, declare as follows:
25
            1. I am a retired homicide inspector with the San Francisco Police Department. I have
26
     personal knowledge of the facts contained herein, and if called upon to testify, I could and would
27
     testify competently hereto.
28
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      Case No. 16-cv-00050-YGR
            Case 4:16-cv-00050-YGR           Document 247         Filed 01/05/18      Page 2 of 4




 1          2. I was one of the two homicide inspectors assigned to investigate the murder of Seu Kuka in

 2   the Sunnydale Housing development on July 23, 2007. My regular partner, Michael Johnson, also was

 3   assigned to this matter.

 4          3. I never pointed to a clipboard and asked Priscilla Lualemaga if the person she saw shoot

 5   Seu Kuka was named Trulove. I never observed anyone do that, or heard that anyone else had done

 6   that until I learned of the statement made by Oliver Barcenas, many years later. I did not know the

 7   name Trulove the night of the murder, and did not know the night of the murder that Joshua Bradley

 8   had a brother or was related to someone named Trulove.

 9          4. I was not aware that anyone attempted to have Ms. Lualemaga identify anyone named

10   Trulove prior to showing her the photo array on July 25, 2007. I was with my partner, Michael

11   Johnson, each time that he walked with Ms. Lualemaga through Ingleside station and I never observed

12   him to have a clipboard or mention the name Trulove. Johnson never indicated to me or in my

13   presence to Ms. Lualemaga that evening that he believed that the shooter might be a person named

14   Trulove. Ms. Lualemaga never gave any indication that any officer had ever attempted to get her to

15   identify Trulove prior to our photo array.

16          5. None of the times that Johnson and I walked through the station were we accompanied by a

17   female uniformed officer.

18          6. I did not ever present any information that I believed to be false or intentionally

19   misrepresent any evidence, to anyone related to this matter, including the District Attorney.

20          7. I never engaged in any identification procedure that I believed had any significant risk of

21   resulting in a false identification, nor did I observe or learn that anyone else had done so. I believed

22   then, and continue to believe now, that Ms. Lualemaga’s identification of Jamal Trulove as the

23   murderer of Seu Kuka was truthful and accurate. There are many facts that I believed then, and

24   continue to believe now, corroborated by her testimony, including her description of the suspect prior

25   to her arriving at the station, her description of the car, and the information she provided regarding the

26   relationship of the shooter to Mr. Bradley, the person being chased. The fact that Mr. Bradley’s cell

27   phone indicated that he was present, even though he told the police he was not, was further

28   information making me believe that Trulove committed the murder.
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      Case No. 16-cv-00050-YGR
            Case 4:16-cv-00050-YGR             Document 247         Filed 01/05/18      Page 3 of 4




 1             8. The only representations I made to the District Attorney’s office or the court concerning

 2   Ms. Lualemaga’s identification of Jamal Trulove was that she picked his photograph out of the lineup.

 3   I did not use the words “positive” or “tentative” with regard to that identification. I believe that my

 4   representations regarding the identification were truthful and accurate.

 5             9. At some point, I became aware of the second eyewitness, Latisha Meadows-Dickerson. I

 6   was not present during her interview, and never met her. I never made any representations to the

 7   District Attorney or the Court about her identification, or anything about Ms. Meadows-Dickerson.

 8             10. I never made any representation to the District Attorney or the Court about the meaning of

 9   the shell casings found at the scene. I never discussed that subject matter at all with either the District

10   Attorney or the Court. I believed then, and I believe now, that the location of the found shell casings

11   does not definitively place the shooter in the location identified by either witness nor does it

12   definitively place the shooter in a location different from that stated by either eyewitness. Among

13   other things, the number of people who were present (the Incident Report indicates there were 30 to

14   40) made me believe that the shell casings did not necessarily remain in the location where they

15   landed.

16             11. I disclosed to the District Attorney all of the statements and evidence I had in this case. I

17   never intentionally withheld any information that I thought could potentially be exculpatory, or could

18   be used for impeachment. I am not aware of any exculpatory or impeachment evidence that I did not

19   disclose.

20             12. I never made any agreement, direct or implied, with any other person to violate any of

21   Jamal Trulove’s constitutional rights.

22             13. As a homicide inspector, I do not supervise uniformed officers. I was not responsible for

23   directing the work of any uniformed officer on the night of the Seu Kuka’s murder, and neither was

24   my partner. I did not direct anyone to have the witness review the photos posted on the wall of the

25   report writing room in Ingleside Station. I did not direct anyone to see if the eyewitness could or

26   would identify anyone named Trulove.

27             14. The day after the murder, I went to the Sunnydale to canvas for additional witnesses. This

28   was noted in the chronology of investigation. I did not want to skip Ms. Lualemaga’s door, because I
      D’Amico Dec iso MSJ                                    3                           n:\lit\li2016\160675\01238151.doc
      Case No. 16-cv-00050-YGR
Case 4:16-cv-00050-YGR   Document 247   Filed 01/05/18   Page 4 of 4
